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                       EXHIBIT 5
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    1             UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
    2                    EASTERN DIVISION
    3    IN RE: NATIONAL             )    MDL No. 2804
         PRESCRIPTION OPIATE         )
    4    LITIGATION                  )    Case No.
                                     )    l:17-MD-2804
    5                                            )
         THIS DOCUMENT RELATES TO                )     Hon. Dan A.
    6    ALL CASES                               )     Polster
                                                 )
    7
    8
    9
   10                        Tuesday, May 14, 2019

   11

              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   12                  CONFIDENTIALITY REVIEW

   13
   14
   15
   16            Videotaped Deposition of JAMES E.
           RAFALSKI, VOLUME 2, held at Weitz &
   17      Luxenburg PC, 3011 West Grand Avenue, Suite
           2150, Detroit, Michigan, commencing at
   18      8:25 a.m., on the above date, before
           Michael E. Miller, Fellow of the Academy of
   19      Professional Reporters, Registered Diplomate
           Reporter, Certified Realtime Reporter and
   20      Notary Public.
   21
   22
   23
   24                    GOLKOW LITIGATION SERVICES
                      877.370.3377 ph I fax 917.591.5672
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     1                             PROCEEDINGS
     2                        (May 14, 2019 at 8:25 a.m.)
     3                        THE VIDEOGRAPHER:         We're now on
     4              the record.       My name is David Lane,
     5              videographer for Golkow Litigation
     6              Services.      Today's date is May 14th,
     7              2019.     Our time is 8:25 a.m.
     8                        This deposition is taking place
     9              in Detroit, Michigan in the matter of
    10              National Prescription Opiate
    11              Litigation.       Our deponent today is
    12              James E. Rafalski.          Counsel will be
    13              noted on the stenographic record.
    14                        Our court reporter today is
    15              Mike Miller.
    16                        Mr. Rafalski, I just want to
    17              remind you, you're still under oath
    18              from yesterday.
    19                        THE WITNESS:       Yes, sir, I
    20              understand.       Thank you.
    21                             EXAMINATION

    22     BY MS. SWIFT:
    23              Q.        Good morning, Mr. Rafalski.
    24              A.        Good morning.
    25              Q.        We met a moment ago.           My name

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     1        effective controls.        Falling under that is
     2        suspicious order system.
     3              Q.        So the list on 37 to 40, these
     4        are not requirements under 1301.74(b), the
     5        suspicious order monitoring regulation,
     6        correct?
     7              A.        So I'd like to answer that by
     8        saying I believe these are all components,
     9        which would be necessary to have an effective
    10        suspicious monitoring           a suspicious order
    11        monitoring system.
    12              Q.       And with respect, sir, that's
    13        not what I asked you.
    14                        Are the bullet list components
    15        on pages 37 to 40 of your report required
    16        under 1301.74(b), the suspicious order
    17        monitoring
    18              A.        Yes, they are.
    19              Q.        Okay.    All of them?
    20              A.        Yes.
         -.
    21              Q.        Okay.    Great.      Thanks.
    22                        Is it possible to have a
    23        compliant suspicious order monitoring system
    24        without all of these components?
    25              A.        Yes, I think it would be

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     1     possible.
     2              Q.         But they are all requirements?
     3              A.         Based on -- depending on the
     4     scope of the business that's the customer and
     5     based on the scope of activity of the
     6     distributor, I would say that some of
     7     these    - -    there could be some of these that
     8     would not be necessary.            But I'd also say

     9     that there may be some that aren't identified

    10     on this list.         And also, based on the fact

    11     that the distribution activity is not static

    12     and it changes.
    13              Q.         So if I'm following you, all of

    14     the bullet-listed components on pages 37 to

    15     40 are,        in fact,   required under 1301.74(b),

    16     but you could have a compliant suspicious

    17     order monitoring system without all of these

    18     compliant -- components, and, in fact,                 there

    19     may be other components that are required

    20     under 1301.74(b) that are not included in

    21     this list.

    22                         Do I have all that, correct,

    23     sir?
    24              A.         I believe that's correct, yes.
    25              Q.         Okay.

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     1              A.        I'm not saying this is an

     2     exclusive list and there might not be other

     3     things that I have not considered or might

     4     come up based on the type of business

     5     activities that are involved.
     6              Q.        On page 39, if you would take a

     7     look, please.        You say, the top bullet, that:

     s     A robust and well-documented due diligence

     9     program is key.

    10                       And then it goes on from there

    11     and provides components that you say you

    12     would like to see in a due diligence

    13     compliance program for suspicious orders,

    14     correct, sir?
    15              A.        Yes, ma'am.
    16              Q.        Is it your opinion that a

    17     distributor has to do all of the diligence

    18     steps listed here in order to comply with the
    19     law?
    20              A.        Yes, ma'am.
    21              Q.        All right.       I want you to hold

    22     on to these pages of your report for a

    23     minute, please.         And I'm going to hand you a

    24     document.       This will be Exhibit 19.

    25                        (Whereupon, Deposition Exhibit

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     1              A.        Yes, there could be.
     2              Q.        And those other methods that

     3        are not identified in your report might be

     4        perfectly sufficient for identifying

     5        suspicious orders, correct, sir?
     6              A.        I hope for the sake of

     7        diversion they are perfect and they do exist,

     8        but yes, that's a possibility.
     9              Q.        And, in fact, you testified

    10        yesterday, I believe, that it's up to the

    11        registrant to design a system that makes

    12        sense for that registrant's business,

    13        correct, sir?

    14              A.        That's correct.
          I

    15              Q.        When you were at the DEA, you

    16        never advised a registrant to follow any of

    17        the five flagging methods that are addressed

    18        in your report, correct, sir?

    19                        MR. FULLER:        Same instruction

    20              on Touhy.

    21                        MS. SWIFT:       Are you going to
    22              follow your counsel's instruction not
    23              to answer that question, sir?
    24                        THE WITNESS:        I'd like to think
    25              about it first.         Is that okay?

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     1                      CERTIFICATE
     2                I, MICHAELE. MILLER, Fellow of
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     3     Registered Diplomate Reporter, Certified
           Realtime Reporter, Certified Court Reporter
     4     and Notary Public, do hereby certify that
           prior to the commencement of the examination,
     5     JAMES E. RAFALSKI was duly sworn by me to
           testify to the truth, the whole truth and
     6     nothing but the truth.
     7                I DO FURTHER CERTIFY that the
           foregoing is a verbatim transcript of the
     8     testimony as taken stenographically by and
           before me at the time, place and on the date
     9     hereinbefore set forth, to the best of my
           ability.
    10
                      I DO FURTHER CERTIFY that pursuant
    11     to FRCP Rule 30, signature of the witness was
           not requested by the witness or other party
    12     before the conclusion of the deposition.
    13                I DO FURTHER CERTIFY that I am
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    14     nor counsel of any of the parties to this
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    15     employee of such attorney or counsel, and
           that I am not financially interested in the
    16     action.

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    23     Dated: May 15, 2019
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